Case 1:20-cv-04178-LDH-LB Document 45 Filed 01/03/24 Page 1 of 2 PageID #: 232

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                                                                           January 3, 2024
VIA ECF
United States District Court
Eastern District of New York
Attn: Hon. LaShann DeArcy Hall, U.S.D.J.
225 Cadman Plaza East
Courtroom 4H North
Brooklyn, NY 11201-1804

       Re:     Calle v. Pizza Palace Cafe LLC, et al.
               Case No.: 1:20-cv-4178 (LDH) (LB)__

Dear Judge Hall:

        This office represents the Defendants Sasha Ishaqov, Yuri Ishaqov, and Vlady Djouraev
(hereinafter the “Individual Defendants”) in the above-referenced case. Defendants write, with
Plaintiff’s consent, to respectfully request a seven (7) day extension of time to file and serve
objections to the Hon. Lois Bloom, U.S.M.J.’s (hereinafter “Judge Bloom”) December 20, 2023
Report & Recommendation denying the Individual Defendants’ letter motion to vacate the default
judgment, for an extension of time to respond to the complaint, and for a mediation referral Order.
See Text Only Report & Recommendation dated December 20, 2023.

        Pursuant to 28 U.S.C. § 636(b)(1)(c) and Rule 72 of the Federal Rules of Civil Procedure
(hereinafter referred to as “Rules” or “Rule”), a party has fourteen (14) days from service of a
report and recommendation to file written objections. See 28 U.S.C. § 636(b)(1)(c) & Fed. R. Civ.
P. 72. A party may also seek an extension of time of the deadline set forth in Rule 72. See Gao
v. Perfect Team Corp., No. 10-CIV.-1637 (ENV) (CLP), 2013 WL 6901136, at *1 n. 1 (E.D.N.Y.
Dec. 31, 2013) (extending Rule 72 deadline at least twice upon request). Indeed, pursuant to Rule
6, the court may, for good cause, extend the time with or without motion or notice if a request is
made before the original time or its extension expires. See Fed. R. Civ. P. 6(b)(1)(A).

       Here, the Individual Defendants respectfully submit that good cause exists warranting an
extension of time for a couple of reasons.

       First, the Individual Defendants need additional time to file their objections to Judge
Bloom’s Report & Recommendation pursuant to Rule 72 due to the holidays and because your
undersigned counsel’s deadlines in other matters prevented him from being able to prepare the
Individual Defendants’ anticipated Rule 72 motion. See, e.g., Docket No.: 2022-04182 (Second
Department) (appeal perfected on January 2, 2024). It would therefore be unfair to deny
Defendants their right to de novo review by this Court on account of their counsel’s obligations in
other matters.
Case 1:20-cv-04178-LDH-LB Document 45 Filed 01/03/24 Page 2 of 2 PageID #: 233


       Second, Defendants wish to avail themselves of de novo review of Judge Bloom’s Order
pursuant to Rule 72 which will require additional time. See Freedom Mortg. Corp. v. Cadet, No.
19-CIV.-3158 (RRM) (VMS), 2023 WL 6358070, at *3 (E.D.N.Y. Sept. 29, 2023).

        Consistent with ¶ I(E) of this Court’s Individual Practices, the Individual Defendants
respectfully represent that: (a) the original date the Rule 72 motion was due is today, January 3,
2024; (b) the reason for the request is set forth supra; (c-d) there have been no previous requests
for an extension of time of this deadline; (e) the Plaintiff consents to the extension of time, but
respectfully submits that it does not join in the anticipated motion; (f) the requested extension of
time does not affect any other scheduled dates to the Individual Defendants’ knowledge.

       Accordingly, the Individual Defendants respectfully submit that good cause exists
warranting this Court to exercise its discretion in granting the requested extension of time.

       The Individual Defendants thank this Court for its time and attention in this case.

Dated: Lake Success, New York
       January 3, 2024                        Respectfully submitted,

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